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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE/OPELOUSAS DIVISION

 RANDALL SCARBOROUGH                  * CIVIL ACTION NO.: 6:12-CV-00396
     Plaintiff                        *
                                      *
 VERSUS                               * MAGISTRATE JUDGE PATRICK HANNA
                                      *
 INTEGRICERT, LLC                     *
       Defendant                      *
 _____________________________________________________________________________

                     MEMORANDUM IN SUPPORT OF
     MOTION FOR PARTIAL SUMMARY JUDGMENT ON NON-INFRINGEMENT

 May it please the Court:

        Defendant’s Motion, and the Statement of Uncontested Material Facts filed with it, are

 straightforward: the “IntegriCert device” described in and depicted by U.S. Patent No. 7,240,569

 (the “’569 Patent”) cannot infringe those patents at issue held by Plaintiff, Randall

 Scarborough, because each and every claim of Mr. Scarborough’s patents includes required

 elements not present in the IntegriCert device.

        From the point of view of both experts in the relevant field of mechanical engineering

 (the report and deposition of one, Stephen Killingsworth, are attached to the Motion as exhibits

 D and E, respectively), as well as those of laymen making up any reasonable jury, there is no

 question that the IntegriCert device lacks at least one – often more than one – essential limitation

 of each and every claim of the ‘322 and ‘447 patents.

        This Court has already found that, drawing all factual inferences in IntegriCert’s favor, a

 reasonable jury could conclude the IntegriCert device infringes neither the ‘322 nor ‘447 patents

 [Rec. Doc. 181]. It is respectfully submitted that, even in the light most favorable to Mr.

 Scarborough, no jury could reasonably find otherwise. Following are the detailed reasons why.


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           Procedural Posture on Motion for Summary Judgment

          “Summary judgment is as appropriate in a patent case as it is in any other case.” 1 The

 “motion of an accused infringer for judgment on the ground of non-infringement of a patent may

 be granted where the patentee's proof is deficient in meeting an essential part of the legal

 standard for infringement.” Johnston v. IVAC Corp., 885 F.2d 1574, 1577 (C.A.F.C., 1989).

          While the “evidence must be viewed in the light most favorable to the nonmovant,” SRI

 Intern. v. Matsushita Elec. Corp. of America, 775 F.2d 1107, 1117 (C.A.F.C., 1985), the “party

 opposing the motion must point to an evidentiary conflict created on the record.” 2

          That “evidentiary conflict” must establish a genuine issue of material fact either that I.

 “every limitation set forth in a claim must be found in an accused product, exactly” (literal

 infringement) 3; or II. an accused product “performs substantially the same function in

 substantially the same way to obtain the same result” (infringement by equivalents). 4 In sum,

 “every limitation set forth in a patent claim must be found in an accused product or process

 exactly or by a substantial equivalent,” or there is no infringement. 5



          Plaintiff’s ‘322 Patent, All Claims

          The first limitation of the ‘322 Patent’s claims which no reasonable jury could find in the

 IntegriCert device is the simplest – and applies to each and every claim of the patent: there is no

 “framework including a base” in the accused device.

          As the Court has already observed, these terms “framework” and “base” have not been


 1
   C.R. Bard, Inc. v. Advanced Cardiovascular Sys., Inc., 911 F.2d 670, 672 (C.A.F.C., 1990); see also Desper Prods., Inc.
 v. QSound Labs, Inc., 157 F.3d 1325, 1332 (C.A.F.C., 1998).
 2
   Barmag Barmer Maschinenfabrik AG v. Murata Machinery, Ltd., 731 F.2d 831, 836 (C.A.F.C., 1984)
 3
   Southwall Technologies, Inc. v. Cardinal IG Co., 54 F.3d 1570, 1575 (C.A.F.C., 1995).
 4
   Graver Tank & Mfg. Co. v. Linde Air Products Co., 339 U.S. 605, 608 (1950).
 5
   Laitram Corp. v. Rexnord, Inc., 939 F.2d 1533, 1535 (C.A.F.C., 1991).

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 construed; the specification “is the single best guide to the meaning” 6 of claim terms as the

 patentee intended them, and the ‘322 Patent’s specification discloses that the “test apparatus can

 be mounted to a base plate 37 in order to provide support [or] it can be used without the base

 plate 37 and attached via clamps 38 or other suitable method” (Exhibit A, col. 2, lines 62-65).

            None of the ‘322 Patent’s embodiments is depicted without either base plate 37 or clamps

 38; as previously quoted, the patent’s specification is clear that these two elements are “an

 illustrative method of attaching the apparatus to the pad eye [to] provide adequate support and

 connection” (Exhibit A, col. 2, lines 58-60) – i.e. they are suggested means of providing

 “adequate support and connection,” which are essential to the function of all embodiments.

            The IntegriCert device, in contrast, supports the force it exerts solely by setting its

 cylinder base plates 285, unattached to the pad eye or its substrate, on the floor of the tested

 container, “simulat[ing] the force applied by the weight of the typical contents of the container”

 (Exhibit C, Abstract). No “base,” as the Court has already observed, unites the cylinders and the

 top beam assembly, to which each cylinder is independently attached, into a “framework.”

            Moreover, the ‘322 Patent’s specification dictates that its base plate 37, or clamps 38, or

 their equivalents, are “method[s] of attaching the apparatus to the pad eye” (Exhibit A, col. 2,

 lines 58-60). As Mr. Killingsworth’s report indicates, “[w]ithout… a base joining the side pieces

 together completing the frame, there can be no satisfactory assurance that a pure tensile load is

 achieved with the device described” (Exhibit D, p. 4).

            The IntegriCert device, contrary to the specification of the ‘322 Patent, attaches to the

 pad eye not through anything describable as a “base,” but through four cable assemblies 130

 (Exhibit C, col. 3, lines 34-35). Plaintiff has previously argued that these cable assemblies are

 equivalent to his “side pieces,” not his “base” [Rec. Doc. 155-2, p. 12]. He cannot have it both
 6
     Phillips v. AWH Corp., 415 F.3d 1303, 1315 (C.A.F.C., 2005).

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 ways – a single component of the IntegriCert device cannot do double duty in reading on two

 distinct limitations, both “base” and “side pieces.”

          Both machine and method claims of the ‘322 Patent, all of them, require either an

 apparatus including a “framework including a base” or “providing” such a framework. The

 IntegriCert device, and methods of using it, require neither. The IntegriCert device cannot read

 on any claim of the ‘322 Patent without including this essential limitation.



          Plaintiff’s ‘322 Patent, Claims 1-19 7

          The second limitation missing from the IntegriCert device, but required by claims 1

 through 19, is “tension,” by the parties’ agreement meaning “tensioning force;” the ‘322 Patent’s

 specification dictates that all disclosed mechanisms “exert a tensioning force” (Exhibit A, col. 6,

 lines 34-35) – and not any other forces, such as shear or bending/torsional/moment loads.

          Plaintiff might protest, correctly, that “it is improper to read a limitation from the

 specification into the claims.” 8 This limitation of exerting only tensile loads, though, is not

 merely implied by his specification – it is required.

          The “patentee's choice of preferred embodiments can shed light on the intended scope of

 the claims,” 9 and all of the embodiments depicted by the ‘322 Patent exert solely tensile forces

 on tested welds. Repeatedly, the specification emphasizes that its apparatus is “substantially

 horizontally and symmetrically centered on each side of the pad eye” (Exhibit A, col. 6, lines 21-

 23), in order to produce a purely “upward force on the pad eye” (line 27) (emphasis added). This

 7
   “A claim in dependent form shall be construed to incorporate by reference all the limitations of the claim to
 which it refers,” Monsanto Co. v. Syngenta Seeds, Inc., 503 F.3d 1352, 1357 (C.A.F.C., 2007). Claims 2 through 12
 each ultimately depends on Claim 1 and incorporates all limitations of the latter; claims 14 through 19 each
 ultimately depends on Claim 13.
 8
   Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 904 (C.A.F.C., 2004).
 9
   Astrazeneca AB, Aktiebolaget Hassle, KBI-E, Inc. v. Mutual Pharmaceutical Co., Inc., 384 F. 3d 1333, 1340 (C.A.F.C.,
 2004).

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 symmetry is “essential to the function of the apparatus” (Exhibit D, p. 4) – there is no provision

 in the ‘322 Patent’s specification for application or even determination of non-tensile loads.

         No reasonable jury could understand “tensioning or pulling force” 10 to permit the

 application of non-tensile forces – just as the ‘322 Patent itself does not. Mr. Scarborough has

 admitted as much: in arguments made to the United States Patent Office traversing rejection of

 the ‘322 Patent’s claims on reexamination, Plaintiff distinguished his claims over prior art that

 “appl[ies] a shearing force in a direction parallel to the weld…” 11,12 By contrast, Mr.

 Scarborough argued, claim 1 discloses “a cylinder that exerts a force along an axis substantially

 perpendicular to a plane formed between a pad eye… and a weld…” 13

         Therefore, according to the ‘322 Patent’s prosecution history, an apparatus which applies

 “shear force” and not “force… substantially perpendicular” does not “tension the pad eye.”

 Prosecution history estoppel dictates that “tensioning or pulling force,” which the parties have

 agreed the word “tension” means, demands the insertion of “substantially perpendicular” force

 wherever the claim term “tension” is used.

         “[R]eliance upon this unambiguous surrender of subject matter” is Defendant’s (and the

 public’s) right, Southwall, supra, 54 F.3d at 1581. Plaintiff’s arguments in reexamination, not the

 prior art distinguished, dictate the limits imposed by prosecution history estoppel. 14 And, “once

 an argument is made regarding a claim term so as to create an estoppel, the estoppel will apply to




 10
    By agreement of the parties, the construction of the claim term “tension” [Rec. Doc. 78, p. 3].
 11
    Exhibit G, “Applicant Arguments/Remarks Made in an Amendment,” July 7, 2014, p. 48 (App. No. 90/012,840, in
 reexamination) (emphasis added).
 12
    Those references distinguished by Plaintiff in reexamination (U.S. Patent No. 4,584,881 to Hogan and U.S. Patent
 No. 5,548,997 to Bauer) attached in globo as Exhibit H.
 13
    Exhibit G, p. 48 (emphasis added).
 14
    Haynes Int’l v. Jessop Steel Co., 8 F.3d 1573 (C.A.F.C., 1993)

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 that term in other claims.” 15

          The IntegriCert device does not (and cannot) apply purely tensile loads; and it does not,

 and cannot, test a single pad eye as claims 1 through 19 disclose (Exhibit E, p. 125). The

 limitation of “tension the pad eye” is not found in the IntegriCert device. The IntegriCert device

 cannot read on any of claims 1 through 19 of the ‘322 Patent.



          Plaintiff’s ‘322 Patent, Claims 20, 21

          In addition to requiring a “framework including a base,” as discussed above, claims 20

 and 21 of Mr. Scarborough’s ‘322 Patent limit themselves to methods of applying a force

 “substantially perpendicular” 16 to (claim 20) a “plane formed between the attachment weld

 and… another structure,” or to (claim 21) “and toward the… cross bar.”

          The IntegriCert device, on the other hand, does not exert “a force” “substantially

 perpendicular” – i.e. a force at a right angle, a tensile force – to the welds tested. Instead, its

 “testing includes loads that are… tensile, shear, and moment” forces (Exhibit E, p. 51).

          Application of tensile force by Mr. Scarborough’s ‘322 Patent claims, and multiple

 tensile, shear and torsional forces by the IntegriCert device, are not mere accidents – they reflect

 the purpose of each. Plaintiff’s devices test a single pad eye, employing “symmetric” (Exhibit A,

 col. 6, lines 23-27) force to exert “equal upward force on the pad eye” (id.) – i.e. a tensile load.

          IntegriCert’s device, by contrast, is not designed to, and cannot, test purely tensile forces

 on a single pad eye. Instead, it “simulates the force applied by the weight of the typical contents

 of the container” it tests (Exhibit C, Abstract). That simulation necessarily involves imposition of


 15
    Southwall, supra, 54 F.3d at 1584, citing Texas Instruments Inc. v. U.S. Int’l Trade Comm’n, 988 F.2d 1165, 1175
 (C.A.F.C. 1993).
 16
    “Substantially perpendicular,” by agreement of the parties, means “approximately, near or at, a right angle”
 [Rec. Doc. 153, FN1].

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 tensile and shear and torsional forces, simultaneously, on multiple pad eyes – functions the ‘322

 Patent does not describe.

           The limitations of claims 20 and 21 – limitations that include a single force, that force

 being applied “substantially perpendicular” to the test piece – are not found in the IntegriCert

 device.



           Plaintiff’s ‘447 Patent, Claims 1-13

           Determination that the IntegriCert device cannot read on claims 1 through 13 of Mr.

 Scarborough’s ‘447 Patent needs hardly more explanation than is given in Defendant’s Motion.

 Each of these machine claims requires inclusion of a “base including a clamp.”

           For the same reasons described above concerning all claims of the ‘322 Patent, and as

 already suggested by the Court [Rec. Doc. 181, p. 11] the IntegriCert device lacks a “base” the

 same as or equivalent to the ‘447 Patent’s base plate 37 or clamps 38 or any of their equivalents.

           Just as the ‘337 Patent disclosed a machine “attaching the apparatus to the pad eye [to]

 provide adequate support and connection” (Exhibit A, col. 2, lines 58-60), the ‘447 Patent’s

 specification requires that the disclosed apparatus either be “mounted to a base plate 37 in order

 to provide support,” or “attached via clamps 38 or other conventional method directly to the base

 support structure to which the pad eye… is attached” (Exhibit B, col. 3, lines 16-21).

           Whether using the ‘447 Patent’s base plate 37, its clamps 38, or “other conventional

 method,” its apparatus must be “attached… to the base support structure to which the pad eye” is

 welded. The IntegriCert device’s cylinders, again, stand unattached to and on the floor of the

 tested container; and are attached to the tested pad eyes not by anything describable as a “base,”




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 but by cable assemblies 130 (Exhibit C, col. 3, lines 34-35). 17

         The absence from the IntegriCert device of any base including a “clamp,” as required by

 claims 1 through 13, needs no elaboration. No reasonable jury could locate a “clamp” in the

 IntegriCert device. Each and every limitation of claims 1 through 13 are not found in

 IntegriCert’s device.



         Plaintiff’s ‘447 Patent, Claims 14-26

         As enumerated in the instant Motion, multiple elements common to claims 14 through

 26, mandatory for any finding of infringement, are not to be found in the IntegriCert device.

         First, “framework to produce a mounted cylinder within a mounted framework,” as Claim

 14 and each of its ultimately dependent claims recites. As the Court has noted, the IntegriCert

 device’s two cylinders, each with its own base plate 285 (Exhibit C, col. 3, lines 30-33), is

 attached to nothing but beam assembly 110. These are not “mounted cylinders” and they are not

 “within” any “mounted framework.” Indeed, for the reasons discussed above, the cylinders of the

 IntegriCert device comprise no “mounted framework” at all, as they are unattached to anything

 at their bottoms and hang free from beam assembly 110.

         Similarly, whatever “mounted with the framework” means 18, cylinders unattached at one

 end are not by any reasonable definition “mounted” “within” any “framework,” as the

 IntegriCert device’s must be in order to read on claims 14 through 26. Similarly, claims 14

 through 26 each requires cylinders “fixedly attached on the mounted framework.” The

 IntegriCert device’s cylinders are not “fastened, secured or joined” 19 “on [any] mounted


 17
    These cable assemblies, again, have previously been alleged by Mr. Scarborough to be equivalents to his ‘337
 Patent’s “side pieces,” not his “base” [Rec. Doc. 155-2, p. 12].
 18
    This phrase was not construed either by agreement of the parties or the Court.
 19
    By agreement of the parties, the meaning of “fixedly attached” [Rec. Doc. 78, p. 2].

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 framework” when they are free to swing from beam assembly 110 when the device is lifted out

 of the tested container.

        Each and every limitation of claims 12 through 26 is not found in IntegriCert’s device.



        Plaintiff’s ‘447 Patent, Claims 27, 28

        Method claims 27 and 28 of the ‘447 Patent exclusively concern a “single-cylinder

 apparatus” (Exhibit B, claims 27, 28), which the IntegriCert device is not (Exhibit C, Fig. 1).

 Indeed, the only “single-cylinder apparatus” depicted in the ‘569 Patent, as shown at Fig. 10, is

 described as a “typical prior art load test apparatus.”

        Moreover, these claims require “mounting [a] framework about” a test piece. The Court’s

 claim-construction ruling [Rec. Doc. 153] rejected Plaintiff’s proposed definition of “about” as

 meaning simply “near:” “construing the term as meaning only ‘near’ would not accurately define

 that which is depicted in the drawings, which show the framework as being essentially

 equidistant from the test piece” (emphasis added) [Rec. Doc. 153, p. 37]. While a framework

 “about” the test piece “does not necessarily completely surround or enclose the test piece,” the

 Court found the term “around” to be synonymous with “about” (emphasis added) (id.)

        The IntegriCert device does not “mount” any “framework” “around” a test piece –

 indeed, it tests pad eyes only at the periphery of its apparatus (Exhibit C, Fig. 1).

        Each and every limitation of claims 27 and 28 is not found in IntegriCert’s device.



        Plaintiff’s ‘447 Patent, Claim 29

        Claim 29 of the ‘447 Patent likewise requires “mounting” a “framework” “about”

 (meaning “around”) at least one test piece. For the reasons discussed above, the IntegriCert



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  device does not involve “mounting” anything “around” one or more test pieces.

          Claim 29 also involves exertion of force “substantially perpendicular” to a plane formed

  between a test piece and “[perpendicular] to and toward [a] cross bar;” i.e., a purely tensile force.

  For the reasons discussed above, the IntegriCert device does not (and cannot) exert a force

  “substantially perpendicular” to the “desired test piece” identified at claim 29.

          Each and every limitation of Claim 29 is not found in IntegriCert’s device.



          Plaintiff’s ‘447 Patent, Claims 30 and 31

          Essential limitations of claims 30 and 31 of the ‘447 Patent include “attaching a piston

  from a[n] hydraulic cylinder to… the test piece,” i.e. directly to the test piece (Exhibit B, Claim

  30). The IntegriCert device does not attach any hydraulic cylinder (claims 30 and 31 discuss only

  a single-cylinder embodiment) directly to any test piece; tested pad eyes are attached only to

  cable assemblies 130 (Exhibit C, col. 3, lines 34-35). The IntegriCert device would be incapable

  of attaching either of its (multiple) cylinders directly to any test piece.

          Each and every limitation of claims 30and 31 are not found in IntegriCert’s device.



          Conclusion

          No genuine issue of material fact suggests infringement of either the ‘322 Patent or the

  ‘447 Patent by the IntegriCert device. Summary judgment, it is respectfully suggested, is

  warranted as to the non-infringement of the ‘322 or ‘447 patents by the IntegriCert device.




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                                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE


        I certify that I have, this 13th day of June, 2016, provided all parties with a copy of the
  foregoing pleading by means of the Western District’s CM/ECF electronic filing system.



                    ______________/s/ Ryan Goudelocke_______________
                                  Ryan M. Goudelocke




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